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Attorney for Plaintiff


                           IN THE FEDERAL DISTRICT COURT
                             FOR THE DISTRICT OF OREGON
                                   PORTLAND DIVISION


CAROL FUNK, an Individual,                        Case No.

                            Plaintiff,            COMPLAINT FOR DAMAGES
                                                  (EMPLOYMENT DISCRIMINATION)
              v.
                                                  Prayer: $135,000.00
OREGON HEALTH AND SCIENCE
UNIVERSITY, an independent public                 NOT SUBJECT TO MANDATORY
corporation,                                      ARBITRATION

                                                  JURY TRIAL REQUESTED
                            Defendants.




       COMES NOW, Plaintiff Carol Funk, through counsel, and files this Complaint for

Damages against the above-named Defendant. Plaintiff alleges as follows:

                         JURISDICTION, VENUE, AND PARTIES

                                             1.

       Venue for this action is proper in the District of Oregon. The Plaintiff, Carol Funk, lives

in Washington County, Oregon. Defendant is a public corporation incorporated in, and with a

principle place of business, in Oregon. The OHSU Board of Directors, whose members are

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appointed by the State Senate, governs the university. As a public corporation, it receives federal

and state funding. Plaintiff exhausted her administrative remedies through the U.S. Equal

Employment Opportunity Commission and received a right-to-sue letter on or about July 13, 2023.

                                                2.

        At all material times, Plaintiff was a resident of Washington County, Oregon.

                                                3.

        Plaintiff seeks a jury trial for all claims that can be tried to a jury under federal law.



                                    STATEMENT OF FACTS

                                                4.

        Plaintiff worked as a Cancer Registrar for Defendant for approximately four months. In

this position, Plaintiff was contracted to the State of Oregon Cancer Reporting Department. Her

job involved looking at cancer patient case histories (patient abstracts) from different facilities,

and then deciding if they could be combined into one abstract if all or parts of their histories were

similar. Plaintiff also did quality assurance/control on abstracts coming into the State of Oregon.

At her three-month review, she was described as experienced, knowledgeable, a high performer

and delightful to work with on a daily basis. At the time of her interview for the job, in June 2021,

Plaintiff explained that she had not taken the COVID-19 vaccine and did not plan to obtain it. She

was told that OHSU did not require employees to be vaccinated.

                                                5.

        Plaintiff’s position as a Cancer Registrar was fully remote. Plaintiff worked successfully

and exclusively from home.

                                                6.

        Plaintiff is also a devoutly religious individual who adheres to principles of a Christian

faith and is dedicated to following the tenets of her faith to the best of her ability.

                                                7.
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       In August of 2021, Defendant announced it would be implementing and enforcing a

vaccine mandate in the workplace. Plaintiff was informed that those individuals with medical

conditions or religious beliefs in conflict with the vaccine and/or to the taking of the vaccine could

apply for religious and/or medical exceptions. On or about September 26, 2021, Plaintiff

submitted her request for a religious exception. She also let her employer know that she had

additional concerns, as she had bad reactions to vaccines in the past. Plaintiff did not receive a

response to her religious exception request.

                                               8.

       Shortly thereafter, Plaintiff contracted COVID-19 and received a monoclonal antibody

infusion as part of her treatment. Plaintiff was informed by her doctor that she should not receive

the COVID-19 vaccine for at least ninety days after the infusion. Plaintiff duly informed OHSU

of this fact. In addition, Plaintiff became part of a SARS-Cov2 study as part of a vaccine control

group; as a part of the study, she could not become vaccinated.

                                               9.

       Instead of allowing Plaintiff to continue working from home, Defendant terminated her on

October 18, 2021. If Plaintiff complied and became vaccinated within forty-five days of her

termination, she would be allowed to return to work in her former or similar position. However,

this deadline was well before the ninety days her doctor stated she could be vaccinated.

                                               10.

       Due to her wrongful dismissal, Plaintiff was compelled to apply for unemployment, and

was not able to find new employment until September 2022. Plaintiff now works as a contractor,

with no benefits and no paid holidays.

                                               11.

       Plaintiff was devastated by the loss of her job, and suffered from stress and anxiety, which

in turn increased her propensity for migraines and digestive problems. She felt coerced and

betrayed by Defendant. Working remotely from home was productive and satisfactory for both
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Plaintiff and Defendant; thus, there was no need for additional accommodation since she was

already working remotely full-time. Plaintiff not only lost her job, but her income and benefits.

She was compelled to withdraw savings to help her survive financially.

                                                   12.

          The Defendant has yet to explain why, in its view, after several months of working

remotely, Plaintiff’s presence suddenly created an unacceptable health and safety risk

necessitating her termination.

                                                   13.

          Upon information and belief, the Defendant’s adverse employment actions against

Plaintiff were not to protect against an unacceptable health and safety risk. Instead, those actions

were discriminatory against Plaintiff based on her sincerely held religious beliefs and retaliation

against her for her medical condition that made her unable to be vaccinated. Plaintiff did not need

any additional accommodation since she was already working fully remotely. Instead, Defendant

took the most drastic employment action it could against Plaintiff with an unlawful discriminatory

intent.

                                                   14.

          Because of the Defendant’s unlawful termination of Plaintiff, Plaintiff has suffered

economic loss and emotional distress.

                                   FIRST CLAIM FOR RELIEF

                    (Unlawful Employment Discrimination Based on Disability

                        in Contravention of Or. Rev. Stat. § 659A.112 and )

                                                   15.

          Plaintiff realleges all paragraphs above and below as if fully set forth herein.

                                                   16.

          Plaintiff is a member of a protected class on the basis of her medical condition. Plaintiff

was unable to obtain a COVID-19 vaccine due to receiving a monoclonal antibody infusion and
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being part of a vaccine control group in the study of the COVID-19 vaccine.

                                                17.

       Defendant failed to make a good faith effort to accommodate Plaintiff. It would not have

been an undue hardship to have allowed Plaintiff to continue working remotely, as she had been.

                                                18.

       Instead of finding reasonable accommodation or a set of accommodations for her medical

condition, the Defendant engaged in a series of adverse employment actions culminating in

Plaintiff’s unlawful termination. The unlawful discrimination against Plaintiff by Defendant as

outlined above was a proximate cause of Plaintiff’s wrongful termination.

                                                19.

       As a result of Defendant’s violation of O.R.S. 659A.112, Plaintiff has been damaged in an

amount of no less than $135,000.00 in economic damages, or a different amount to be determined

at trial, and for non-economic damages in an amount to be determined at trial for suffering,

emotional distress, anguish, and mental distress. Plaintiff also seeks punitive damages and

attorney’s fees.

                               SECOND CLAIM FOR RELIEF

          (Unlawful Discrimination in Contravention of American Disabilities Act

                                    42 U.S.C. §12101 et seq.)

                                                20.

       Plaintiff realleges all paragraphs above and below as if fully set forth herein.

                                                21.

       Plaintiff is a member of a protected class on the basis of her medical condition, as she was

unable to obtain a COVID-19 vaccine due to receiving a monoclonal antibody infusion and being

part of a vaccine control group in the study of the COVID-19 vaccine. As a result of the mandate,

and Defendant’s actions in prohibiting Plaintiff from working, plaintiff was unable to work and

developed emotional and mental distress and increased physical problems.
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                                                 22.

        Plaintiff’s medical condition conflicted with the Defendant’s COVID-19 vaccine mandate.

                                                 23.

        When Plaintiff informed plaintiff of her medical concerns regarding the COVID-19

vaccine, the Defendant failed to make a good faith effort to accommodate Plaintiff. It would not

have been an undue hardship to have allowed Plaintiff to continue working remotely from home.

                                                 24.

        No accommodation was needed to allow for Plaintiff’s medical status, as she was already

working remotely. Instead of allowing Plaintiff to continue working from home, the Defendant

engaged in a series of adverse employment actions in retaliation against the Plaintiff, culminating

in Plaintiff’s unlawful termination. The unlawful discrimination and retaliation against Plaintiff

because of her medical disability (and resulting emotional and mental distress) by Defendant as

outlined above, was a proximate cause of Plaintiff’s wrongful termination.

                                                 25.

        As a result of Defendant’s unlawful conduct, Plaintiff has been damaged in an amount to

be determined at trial, but that exceeds $135,000.00, and for non-economic damages in an amount

to be determined at trial for suffering, emotional distress, anguish, and mental distress. Plaintiff

also seeks punitive damages. Plaintiff further seeks attorney’s fees.

                                 THIRD CLAIM FOR RELIEF

                     (Unlawful Employment Discrimination Based on Religion

                          In Contravention of Or. Rev. Stat. § 659A.030)

                                                 26.

        Plaintiff realleges all paragraphs above and below as if fully set forth herein.

                                                 27.

        Plaintiff is a member of a protected class on the basis of her devout and sincerely held

religious beliefs.
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                                                 28.

        When Plaintiff raised her well-founded and sincere religious objection to taking the

COVID-19 vaccine, the Defendant failed to make a good faith effort to accommodate Plaintiff’s

religious beliefs. It would not have been an undue hardship to have allowed Plaintiff to continue

working remotely from home.

                                                 29.

        No accommodation was needed to allow for Plaintiff’s religious beliefs because she was

already working remotely. Instead of allowing Plaintiff to continue working from home, the

Defendant engaged in a series of adverse employment actions culminating in Plaintiff being

terminated. The unlawful discrimination against Plaintiff’s religion by Defendant as outlined

above was a proximate cause of Plaintiff’s wrongful termination.

                                                 30.

        As a result of Defendant’s violation of O.R.S. 659A.030(1)(A), Plaintiff has been damaged

in an amount of no less than $135,000.00 in economic damages, or a different amount to be

determined at trial, and for non-economic damages in an amount to be determined at trial for

suffering, emotional distress, anguish, and mental distress. Plaintiff also seeks punitive damages.

Plaintiff further seeks attorney’s fees.

                            FOURTH CLAIM FOR RELIEF
      (Unlawful Discrimination in Contravention of Title VII of the Civil Rights Act –
                                     42 U.S.C. §2000e et seq.)

                                                 31.

        Plaintiff realleges all paragraphs above and below as if fully set forth herein.

                                                 32.

        Plaintiff is a member of a protected class on the basis of her devout and sincerely held

religious beliefs.

                                                 33.

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           The Plaintiff’s sincerely held religious beliefs conflicted with the Defendant’s COVID-19

vaccine mandate.

                                                  34.

           When Plaintiff raised her well-founded and sincere religious objection to taking the

COVID-19 vaccine, the Defendant failed to make a good faith effort to accommodate Plaintiff’s

religious beliefs. It would not have been an undue hardship to have allowed Plaintiff to continue

working remotely from home.

                                                  35.

           No accommodation was needed to allow for Plaintiff’s religious beliefs because she was

already working remotely. Instead of allowing Plaintiff to continue working from home, the

Defendant engaged in a series of adverse employment actions culminating in Plaintiff being

terminated. The unlawful discrimination against Plaintiff’s religion by Defendant as outlined

above was a proximate cause of Plaintiff’s wrongful termination.

                                                  36.

           As a result of Defendant’s unlawful discrimination, Plaintiff has been damaged in an

amount to be determined at trial, but that exceeds $135,000.00, and for non-economic damages in

an amount to be determined at trial for suffering, emotional distress, anguish, and mental distress.

Plaintiff also seeks punitive damages. Plaintiff further seeks attorney’s fees.

                                      PRAYER FOR RELIEF

           WHEREFORE, Plaintiff demands judgment against Defendant and seeks the following

relief:

    1. A judgment in favor of Plaintiff and against Defendant on both claims in an amount to be

           determined at trial but exceeding $135,000.00.

    2. Plaintiff seeks a trial by Jury on all claims to which Plaintiff is entitled to a jury trial.

    3. Plaintiff’s reasonable attorney fees, costs, and prevailing party fees.

    4. Any other relief as the Court deems just and equitable.
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DATED this 28th day of August, 2023.


                                       JANZEN LEGAL SERVICES, LLC

                                       By /s/ Caroline Janzen
                                       Caroline Janzen, OSB No. 176233
                                       caroline@ruggedlaw.com
                                       Attorney for the Plaintiff




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